Case 2:05-cv-02334-BBD-dkv Document7 Filed 07/15/05 Page 10f4 -'Page|

IN THE UNITED STATES DISTRlCT COURT mr D'c'

wEsTERN DISTRICT oF TENNESSEE
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sHELBY COUNTY HEALTH cARE a£§§)%¥ NSTYP}I§SIBT
coRPoRA'rloN d/b/a REGIONAL l - ~-
MEDICAL cEN'rER,
Plaimiff,

VS. NO. 2:050v2334-D/V

INSURANCE COMPANY,
Defendant/Third Party Plaintiff,

DAVID REES, ESQ., individually, and THE

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UNIVERSAL UNDERWRITERS )
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REEs LAW FIRM, P.A., )
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Third Party Defendants.

 

SCHEDULING ORDER

 

This Scheduling Order Was submitted by Teresa A. McCullough, counsel for Plaintiff,
Chris J. Lareau, counsel for Defendant/Third-Party Plaintiff, Universal Underwriters lnsurance
Company, and Bruce M. Smith, counsel for Third-Party Defendants, David Rees and The Rees
Law Firm, P.A. Plaintiff’s counsel requested an extension of the Court’s recommended time
frame in that Plaintiff` s counsel anticipates maternity leave in August and September of 2005.
INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a) (l): August 4, 2005
JOINING PARTIES: November 28, 2005
AMENDING PLEADINGS: November 28, 2005
INITIAL MOTIONS TO DISMISS: January 27, 2006

COMPLETING ALL DISCOVERY: March 31, 2006

Thre dnr-.vment entered on the docket sheet 6a
?r'\. a end/or 79{:1} FHCP on __ __

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(a) DOCUMENT PRODUCTION: March 3 l, 2006

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR ADMISSIONS:
March 31, 2006

(c) EXPERT WITNESS DISCLOSURE (Rule 26):
(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT INFORMATION:
January 27, 2006

(2) DISCLOSURE OF DEFENDANTS’ RULE 26 EXPERT
INFORMATION: February 24, 2006

(3) EXPERT WITNESS DEPOSlTlONS: March 31, 2006

FILING DISPOSITIVE MOTIONS: April 28, 2006
OTHER RELEVANT MATTERS'.

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objections shall be waived.

This case is set for non-jury trial and the trial is expected to last one (l) day. The pretrial
order date, pretrial conference date, and trial date will be set by the presiding judge.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed.R.Civ.P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or
extended

IT IS SO ORDERED.

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DIANE K. VESCOVO
United States Magistrate Judge

DATE: M /5, ,,?Mb"d
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TERESA A. McoU`LLoUGH
Attorney for Plaintiff (17957)

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En‘rRE-K'U@rmy //La»l.&‘/VW’

Attorney for Defendant/Third Party Plaintiff,

Universal Underwriters Insurance Company

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Attomey for Third- -Party Defendants, /David
Rees and The Rees Law Firm, P.A.

 

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02334 was distributed by fax, mail, or direct printing on
July l8, 2005 to the parties listed.

 

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Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

